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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 19-cv-00874-RBJ-MEH

  WARNER BROS. RECORDS INC., et al.,

          Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.,

          Defendant.


                                       ENTRY OF APPEARANCE

          TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR COUNSEL OF

   RECORD:

          I, Cesie C. Alvarez, hereby certify that I am a member in good standing of the bar of this

   Court, and I appear in this case as counsel for Defendant Charter Communications, Inc.

          Dated at Houston, Texas this 7th day of July, 2020.



                                                Respectfully submitted,


                                                By: s/ Cesie C. Alvarez

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 7, 2020, I electronically filed the foregoing with the Clerk of

   the Court using the CM/ECF system which will send notification to all counsel of record.



                                                       s/ Cesie C. Alvarez
                                                       Cesie C. Alvarez




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